Case 5:13-cv-02390-LHK Document 173-6 Filed 03/06/15 Page 1 of 10




                       EXHIBIT 6
                             Lincoln Jones
            Case 5:13-cv-02390-LHK         v. Travelers
                                      Document    173-6Casualty Insurance Page 2 of 10
                                                         Filed 03/06/15
9/18/2014                                                                                Susan Galli

  1                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
  2                                 SAN JOSE DIVISION
  3

  4
        LINCOLN JONES, JR., ET AL.,                        )
  5               Plaintiffs,                              ) Civil Action No.
                                                           ) CV-13-02390 LHK PSG
  6     VS                                                 )
                                                           )
  7     TRAVELERS CASUALTY INSURANCE                       )
        COMPANY OF AMERICA,                                )
  8               Defendant.
  9

 10

 11
                                DEPOSITION OF:           Susan Galli
 12                             DATE:                    September 18, 2014
                                HELD AT:                 Day Pitney LLP
 13                                                      242 Trumbull Street
                                                         Hartford, Connecticut
 14

 15

 16

 17

 18

 19

 20                    Reporter: Robin Balletto, RPR, LSR #230
                           BRANDON HUSEBY REPORTING & VIDEO
 21                                249 Pearl Street
                             Hartford, Connecticut 06106
 22                                 (860) 549-1850
 23

 24

 25

                                            Brandon Huseby
(860) 549-1850                      production@brandonhuseby.com                                  1
                             Lincoln Jones
            Case 5:13-cv-02390-LHK         v. Travelers
                                      Document    173-6Casualty Insurance Page 3 of 10
                                                         Filed 03/06/15
9/18/2014                                                                                Susan Galli

  1     get going, and without any disrespect at all to Judge
  2     Grewal, we thought we would try to make the most of the
  3     day.
  4                              MR. BRANCART:          And I will say to make
  5     the most of the day we've made efforts to contact
  6     defense counsel.              I know that Mr. Peterson is here in
  7     Hartford, but he is unable to -- was unable to come and
  8     appear, and therefore, we weren't able to obtain per
  9     the order a California, or I should say a Northern
 10     District of California attorney to start, but here we
 11     are now.
 12

 13                           DIRECT EXAMINATION BY MR. BRANCART
 14

 15               Q       Ms. Galli, would you please state for me your
 16     full name?
 17               A       Susan Galli, G-A-L-L-I.
 18               Q       Have you ever gone by any other names during
 19     the period of time you've worked at Travelers?
 20               A       No.
 21               Q       Do you commonly use the first name of Sue in
 22     your correspondence or work at Travelers?
 23               A       Yes.
 24               Q       Would you please state your current business
 25     address?

                                            Brandon Huseby
(860) 549-1850                      production@brandonhuseby.com                                  8
                             Lincoln Jones
            Case 5:13-cv-02390-LHK         v. Travelers
                                      Document    173-6Casualty Insurance Page 4 of 10
                                                         Filed 03/06/15
9/18/2014                                                                                Susan Galli

  1               Q       And the recommendation was to maintain that
  2     wording of that ineligible operation, correct?
  3               A       Yes.
  4               Q       Have there been -- you indicate that the
  5     final report has not been written.                       Have there been
  6     drafts of the report?
  7               A       There have been Power Point presentations.
  8               Q       Within the 2013 CURE team, was there any one
  9     member that was assigned to ineligible operations?
 10               A       No.
 11               Q       Was there any one member who took a lead in
 12     addressing or reviewing the ineligible operation known
 13     as public housing by shorthand?
 14               A       No.
 15               Q       Were alternatives considered as part of the
 16     2013 CURE process for modifying the IO for public
 17     housing?
 18               A       Can you repeat the question?
 19                              MR. CURNIN:         Yes, objection.
 20     BY MR. BRANCART:
 21               Q       Sure.     My question is, were there proposals
 22     considered for modifying the public housing IO
 23     language?
 24               A       No.
 25               Q       Were there any reports that were reviewed in

                                            Brandon Huseby
(860) 549-1850                      production@brandonhuseby.com                                 34
                             Lincoln Jones
            Case 5:13-cv-02390-LHK         v. Travelers
                                      Document    173-6Casualty Insurance Page 5 of 10
                                                         Filed 03/06/15
9/18/2014                                                                                Susan Galli

  1     connection with consideration of the IO language done
  2     with public housing?
  3               A       No.
  4               Q       Was there any data that was considered, by
  5     which I mean data computations of prevalence, risks,
  6     things of that kind associated with the review of the
  7     IO public housing, I'm sorry, the public housing
  8     ineligible operation --
  9               A       No.
 10               Q       -- as part of the 2013 CURE?
 11               A       No.
 12               Q       Did anyone make any proposals about modifying
 13     the public housing IO language?
 14               A       No.
 15               Q       Was there any discussion in the 2013 CURE
 16     about modifying or changing the manner in which
 17     Travelers employees are trained on ineligible
 18     operations?
 19               A       No.
 20               Q       Was there any recommendation made about
 21     changing the way independent agents are trained about
 22     the application of ineligible operations?
 23               A       No.
 24               Q       Regarding Apartment Pac, were there
 25     recommendations that were made to change any of the

                                            Brandon Huseby
(860) 549-1850                      production@brandonhuseby.com                                 35
                             Lincoln Jones
            Case 5:13-cv-02390-LHK         v. Travelers
                                      Document    173-6Casualty Insurance Page 6 of 10
                                                         Filed 03/06/15
9/18/2014                                                                                Susan Galli

  1               A       Yes.
  2               Q       In layman's terms what does that mean?
  3               A       The chances of having a claim.
  4               Q       There is also the terms used which are loss
  5     claims, I'm sorry, claims loss.                     Have you heard that
  6     term used?
  7               A       Not that I can recall.
  8               Q       Would you please identify for me what you
  9     understand to be the best practices to reduce the risk
 10     of loss in the operation of an apartment building?
 11                              MR. CURNIN:         Objection.
 12               A       Can you be a little more specific?
 13     BY MR. BRANCART:
 14               Q       Sure.     The manner in which an apartment is
 15     operated, or the nature of its structure or condition
 16     can create risk, true?
 17               A       Yes.
 18               Q       Risk can be reduced by the manner, by
 19     observing practices, certain practices, good practices,
 20     true?
 21               A       Yes.
 22               Q       And also by having certain conditions exist,
 23     or certain defects not exist, true?
 24               A       Yes.
 25               Q       Would you list for me, then, your

                                            Brandon Huseby
(860) 549-1850                      production@brandonhuseby.com                                 91
                             Lincoln Jones
            Case 5:13-cv-02390-LHK         v. Travelers
                                      Document    173-6Casualty Insurance Page 7 of 10
                                                         Filed 03/06/15
9/18/2014                                                                                Susan Galli

  1     understanding of what are the best practices in
  2     connection with the operation of an apartment complex
  3     that would reduce the risk of loss?
  4               A       Having a full-time property manager, having a
  5     resident manager on place, having a regular maintenance
  6     program, making sure that all the buildings met life
  7     safety requirements, having an owner that is proactive
  8     versus reactive.
  9               Q       Anything else?
 10               A       That's all I can think of right now.
 11               Q       Best practices would also include having an
 12     appropriate amount of living space, true?
 13               A       I'm not sure what you mean by living space.
 14               Q       So there's not overcrowding.
 15               A       Yes.
 16               Q       Security?
 17               A       Yes.
 18               Q       Sound structure and materials?
 19               A       Yes.
 20               Q       Clean and adequate water supply?
 21               A       Yes.
 22               Q       Elimination or control or disclosure of lead
 23     paint?
 24               A       Yes.
 25               Q       Smoke detectors?

                                            Brandon Huseby
(860) 549-1850                      production@brandonhuseby.com                                 92
                             Lincoln Jones
            Case 5:13-cv-02390-LHK         v. Travelers
                                      Document    173-6Casualty Insurance Page 8 of 10
                                                         Filed 03/06/15
9/18/2014                                                                                Susan Galli

  1               A       Yes.
  2               Q       Maintenance of sanitary conditions?
  3               A       Yes.
  4               Q       Unimpeded access?
  5               A       Yes.
  6               Q       Adequate heating and cooling controls?
  7               A       Yes.
  8               Q       Adequate illumination?
  9               A       Yes.
 10               Q       Best practices would include requiring
 11     residents of the apartment building to maintain, or I
 12     should say not violate any of those housing quality
 13     standards, true?
 14               A       Yes.
 15               Q       Best practices would also include requiring
 16     that the owner maintain the property to maintain those
 17     quality housing standards, true?
 18               A       Yes.
 19                                             (Plaintiffs' Exhibit 211,
 20     Premises Liability Supplement General Liability
 21     Underwriting Information:                  Marked for Identification.)
 22     BY MR. BRANCART:
 23               Q       Let me show you what I'll mark as
 24     Exhibit 211.            211 is a form, it's a premises liability
 25     supplement, general liability underwriting information.

                                            Brandon Huseby
(860) 549-1850                      production@brandonhuseby.com                                 93
                             Lincoln Jones
            Case 5:13-cv-02390-LHK         v. Travelers
                                      Document    173-6Casualty Insurance Page 9 of 10
                                                         Filed 03/06/15
9/18/2014                                                                                Susan Galli

  1                                             JURAT
  2

  3                       I, SUSAN GALLI, do hereby certify that the
  4     foregoing testimony taken on September 18, 2014, is
  5     true and accurate, including any corrections noted on
  6     the corrections page, to the best of my knowledge and
  7     belief.
  8

  9
                                                ____________________________
 10                                                      SUSAN GALLI
 11

 12

 13

 14

 15               At ___________ in said county of ____________,
 16     this ________day of _________, 2014, personally
 17     appeared SUSAN GALLI, and she made oath to the truth of
 18     the foregoing corrections by her subscribed.
 19

 20

 21     Before me,________________________, Notary Public
 22     My commission expires:
 23

 24

 25

                                            Brandon Huseby
(860) 549-1850                      production@brandonhuseby.com                                134
                          Lincoln Jones
         Case 5:13-cv-02390-LHK         v. Travelers
                                   Document   173-6Casualty Insurance Page 10 of 10
                                                     Filed 03/06/15
9/18/2014                                                                             Susan Galli

  1                           CERTIFICATE OF REPORTER
  2              I, Robin Balletto, a Registered Professional
  3     Reporter/Notary Public within and for the State of
  4     Connecticut, do hereby certify there came before me, on
  5     the 18th day of September, 2014, the following named
  6     person, to wit:          SUSAN GALLI, who was by me duly sworn
  7     to testify to the truth and nothing but the truth; that
  8     she was thereupon carefully examined upon her oath and
  9     her examination reduced to writing under my
 10     supervision; that this deposition is a true record of
 11     the testimony given by the witness.
 12     I further certify that I am neither counsel for,
 13     related to, nor employed by any of the parties to the
 14     action in which this deposition is taken; and further,
 15     that I am not a relative or employee of any attorney or
 16     counsel employed by the parties hereto, nor financially
 17     or otherwise interested in the outcome of the action.
 18              WITNESS my hand and affixed my seal this 27th day
 19     of September, 2014.
 20

 21                                      _________________________________
                                                Robin Balletto, RPR
 22

 23
        My commission expires:              October 31, 2018
 24

 25

                                        Brandon Huseby
(860) 549-1850                  production@brandonhuseby.com                                 136
